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                                                                       U.S. DISTRICT COURT
                                                                           N.D. OF ALABAMA




           EXHIBIT A
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                                                September 19, 2015




        Ms. Robin Higgs                                       Mr. Bill Brinkley
        Site Manager                                          BFI Waste Systems of Alabama, LLC
        3M Company                                            4704 Commercial Dr.
        PO Box 2206                                           Huntsville, AL 35816
        Decatur AL 35609-2206

        3M Company                                            BFI Waste Systems of Alabama, LLC
        c/o The Corporation Company                           c/o CT Corporation System
        2000 Interstate Park Drive, Suite 204                 2 North Jackson St., Suite 605
        Montgomery, AL 36109                                  Montgomery, AL 36104

        Mr. Ray Hardin                                        Hon. Don Kyle
        General Manager                                       Mayor
        Decatur Utilities                                     City of Decatur, Alabama
        P.O. 2232                                             402 Lee Street NE
        Decatur, AL 35609                                     Decatur, AL 35601


      VIA CERTIFIED MAIL – RETURN RECEIPT REQUESTED

      Re:     Notice of Intent to Sue Under Section 7002(a)(l)(B) of the Resource Conservation
              and Recovery Act, 42 U.S.C. § 6972(a)(l)(B).

      Pursuant to section 7002(a)(l)(B) of the Resource Conservation and Recovery Act (RCRA),
      42 U.S.C. § 6972(a)(l)(B), the Tennessee Riverkeeper, Inc., puts each of the Responsible Parties
      listed above, as well as the U.S. Environmental Protection Agency (“EPA”) and the Alabama
      Department of Environmental Management (“ADEM”), on notice of its intent to sue for
      abatement of an imminent and substantial endangerment to health and the environment in
      connection with contamination caused by disposal of solid or hazardous waste containing
      perfluorooctanoic acid (PFOA), perfluorooctane sulfonate (PFOS), and related chemicals, at
      several locations in or near Decatur, Alabama. We intend to seek injunctive relief to remedy the
      ongoing releases of these toxic chemicals into the groundwater and into the Tennessee River
      (Wheeler Reservoir) and its tributaries, which have resulted in contaminated groundwater in
      several locations, contaminated water supplies, and contamination of surface water, fish, and
      sediments.
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1.     RESPONSIBLE PARTIES

Section 7002(a)(l)(B) of RCRA, 42 U.S.C. § 6972(a)(l)(B), allows affected citizens to bring suit
against:

       any person, ... including any past or present generator, past or present transporter,
       or past or present owner or operator of a treatment, storage or disposal facility,
       who has contributed or who is contributing, to the past or present handling,
       storage, treatment, transportation, or disposal of any solid or hazardous waste
       which may present an imminent and substantial endangerment to health or the
       environment.

The following Responsible Parties are responsible for the imminent and substantial
endangerment:

a.     The 3M Company

The 3M Company is the present owner of disposal facilities located at 1400 State Docks Road in
Decatur, Alabama, which are releasing PFOA, PFOS, and related chemicals into groundwater
and surface water through which the chemicals are discharged into the Tennessee River
(Wheeler Reservoir) and its tributaries. 3M manufactured or used these and other chemicals at its
facility and disposed of hazardous and solid waste containing these chemicals in a landfill and a
sludge incorporation area on its property and on adjacent property.

3M discharged wastewater containing PFOA, PFOS, and related chemicals from its on-site
wastewater treatment plant into Bakers Creek, a tributary to the Tennessee River, and from 1978
to 1998, 3M incorporated sludge from the on-site wastewater treatment plant by means of
subsurface injection in an on-site area designated as the sludge incorporation area. In addition,
3M discharged wastewater containing PFOA, PFOS, and related chemicals to the Decatur
Utilities Dry Creek Wastewater Treatment Plant (“WWTP”) (see below).

From time to time, 3M disposed of solid and hazardous waste, including wastewater treatment
plant sludge containing PFOA, PFOS, and related chemicals, at off-site landfills, including the
City of Decatur-Morgan County Landfill, which is currently operating as the Morgan County
Landfill (see below), the Morris Farms Landfill, which is currently owned and operated by BFI
Waste Systems of America, LLC, and the Bert Jeffries Landfill (sometimes called the Browns
Ferry Road Site), now owned by 3M.

b.     BFI Waste Systems of America, LLC

BFI Waste Systems of America, LLC, owns and operates the A.J. Morris Landfill (Morris Farms
Landfill), located on County Road 418, in Hillsboro, Alabama, currently known as the BFI
Hillsboro Landfill. The Morris Farms Landfill has accepted sludge contaminated with PFOA,
PFOS, and related chemicals, from 3M. These chemicals are present in the landfill and result in
groundwater contamination and the generation of contaminated leachate. Leachate from the



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landfill containing these chemicals is discharged to the Decatur Utilities Dry Creek WWTP (see
below).

c.     City of Decatur, Alabama

The City of Decatur, Alabama, owns the City of Decatur-Morgan County Sanitary Landfill.
From approximately 1961, the majority of the 3M Decatur facility industrial wastes were
deposited in this landfill. In addition, 3M’s onsite WWTP sludge was disposed of at the landfill
for many years. As a result, PFOA, PFOS, and related chemicals are present in the Morgan
County Landfill resulting in groundwater contamination and the generation of contaminated
leachate. The Morgan County Landfill leachate is sent to Decatur Utility’s Dry Creek WWTP for
treatment. The Dry Creek WWTP, in turn, discharges its treated effluent to the Tennessee River,
upstream of the 3M Decatur facility.

d.     Municipal Utilities Board of Decatur, Morgan County, Alabama (“Decatur Utilities”)

Decatur Utilities owns and operates the Dry Creek WWTP. The Dry Creek WWTP has received
wastewater containing PFOA, PFOS, and related chemicals from 3M and other industrial
facilities for several years. Decatur Utilities also receives sanitary wastewater from 3M and
continues to receive landfill leachate contaminated with PFOA, PFOS, and related chemicals.
The WWTP does not adequately remove these chemicals from the waste stream and, as a result,
discharges harmful amounts of these chemicals to the river. The WWTP also disposes of its
sludge, contaminated with these chemicals, to the Decatur-Morgan County Sanitary Landfill.
From 1996 to 2008, sludge (biosolids) from the Dry Creek WWTP were applied as a soil
amendment on agricultural fields in Lawrence, Morgan, and Limestone counties in Alabama.
The sludge contained PFOA, PFOS, and related chemicals, as a result of the industrial
wastewaters that were treated at the Dry Creek WWTP, and these chemicals have contaminated
soil, groundwater, and surface water at and near these agricultural fields.

Each of these Responsible Parties are jointly and severally liable for contributing to the
endangerment to public health and the environment. Years after becoming aware of the
continuing hazards posed by PFOA, PFOS, and related chemicals, none of the Responsible
Parties has taken the actions necessary to successfully abate the ongoing endangerment.

2.     IMMINENT AND SUBSTANTIAL ENDANGERMENT

a.     Human Health Risks Caused by Exposure to PFOA, PFOS, and Related Chemicals

The human health risks caused by exposure to low levels of PFOA, PFOS, and related chemicals
include cancer, immunotoxicity, thyroid disease, ulcerative colitis, and high cholesterol. The
stable carbon-fluorine bonds that make PFOA and PFOS such pervasive industrial and consumer
products also result in their persistence. There is no known environmental breakdown
mechanism for these chemicals. As a result of the chemicals’ stability and pervasive use, the
concentrations of these chemicals have rapidly increased in the soil, water, and air, and in
biological systems, including humans and animals. They are readily absorbed into biota and have
a tendency to accumulate with repeated exposure. Fish, in particular, accumulate these

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chemicals. PFOS crosses the placenta in humans, accumulates in amniotic fluid, and has been
detected in umbilical cord blood.

The association of exposure to these chemicals and certain cancers has been reported by the C8
Health Project, an independent Science Panel charged with reviewing the evidence linking
PFOA, PFOS, and related chemicals to the risk of disease based on health research carried out by
the Science Panel in the Mid-Ohio Valley population exposed to these chemicals as a result of
releases from an E. I. du Pont de Nemours and Company chemical plant, as well as other
published scientific research. 1 The C8 Science Panel specifically listed kidney cancer and
testicular cancer as having a “probable link” to PFOA exposure. Epidemiological studies of
workers exposed to PFOA support the association between PFOA exposure and both kidney and
testicular cancer and also suggest associations with prostate and ovarian cancer and non-Hodgkin
lymphoma. 2 Rodent studies also support the link with cancer. 3 The majority of an EPA Science
Advisory Board expert committee recommended in 2006 that PFOA be considered “likely to be
carcinogenic to humans.” 4

Additionally, the C8 Science Panel has found a probable link between exposure to PFOA, PFOS,
and related compounds, and the following human diseases: pregnancy-induced hypertension,
ulcerative colitis, and high cholesterol. Furthermore, in recent years, immunotoxicity of PFOA,
PFOS, and related compounds, has been demonstrated in a wide variety of species and models,
including humans. For instance, a study of ninety-nine Norwegian children at age three found
that maternal serum PFOA concentrations were associated with decreased vaccine responses,
especially toward rubella vaccine, and increased frequencies of common cold and gastroenteritis.
The combined human and experimental evidence is in strong support of adverse effects on
immune functions at current exposure levels. 5

The U.S. EPA in 2009 published provisional drinking water health advisories for PFOA and
PFOS, which are currently under review. The advisory for PFOA is 0.4 µg/L (0.4 ppb), and for
PFOS is 0.2 µg/L (0.2 ppb). This health advisory is based on evidence that was available before
2008, and, according to recent studies, may be more than 100-fold too high. 6




1
  Barry V, Winquist A and Steenland K. Perfluorooctanoic acid (PFOA) exposures and incident cancers among
adults living near a chemical plant. Environ Health Perspect 2013; 121: 1313–1318.
2
  Grandjean P and Clapp R. NEW SOLUTIONS: A Journal of Environmental and Occupational Health Policy
2015, Vol. 25(2) 147–163.
3
  Id.
4
  EPA Science Advisory Board. SAB review of EPA’s draft risk assessment of potential human health effects
associated with PFOA and its salts. Report to the EPA Administrator. Washington, DC: U.S. Environmental
Protection Agency, 2006.
5
  Grandjean P and Clapp R. NEW SOLUTIONS: A Journal of Environmental and Occupational Health Policy
2015, Vol. 25(2) 147–163.
6
  Id.

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b.         Monitoring Results and PFOA and PFOS Contamination

Tennessee River

EPA and ADEM have identified the facilities discussed above as sources of PFOA and PFOS
contamination in the Tennessee River, including surface water, porewater, sediments, and fish.
The primary source is the 3M facility, itself, with high levels of PFOA and PFOS in groundwater
migrating into the Tennessee River.

Based on the contamination in the Tennessee River, ADEM has placed Wheeler Reservoir from
5 miles upstream of Elk River/US Highway 31 to the dam on the state’s impaired waters list for
PFOS contamination impairing swimming and fish & wildlife uses. 7 The Alabama Department
of Public Health has issued a fish consumption advisory for portions of Wheeler Reservoir and
its tributaries based on contamination of fish with PFOS, including: Baker’s Creek embayment at
Wheeler Reservoir (Morgan County), Wheeler Reservoir mid station, main river channel,
Tennessee River Mile 296 (Limestone County); Wheeler Reservoir, Tennessee River Miles 303
to 296, area south of the main river channel (Morgan County). 8

Concentrations of PFOA as high as 4,980 ppb and PFOS as high as 3,890 ppb have been found
in groundwater on the 3M site along the south bank of the Tennessee River. Porewater from the
bottom of the river bed near the 3M site, which is groundwater discharging into the river, showed
average concentrations of PFOA from 0.0977 to 70.4 ppb. Sediment concentrations in the river
have been found as high as an average of 24.1 ppb PFOA, and surface water concentrations as
high as an average of 0.420 ppb PFOA at one monitoring site. PFOS concentrations for single
samples collected in the lower, middle and upper reaches of the confluence area where Bakers
Creek flows into the Tennessee River were 0.450, 0.691 and 0.0237 ppb, respectively. The PFOS
concentrations in the surface water transect samples were as high as 0.138 ppb at the
southernmost point along Transect 4 (closest location to Bakers Creek mouth at RM 301).

PFOS was detected in every fish specimen collected in the Tennessee River and Bakers Creek
near the 3M plant in the November 2012 sampling event. The median filet tissue PFOS
concentrations ranged from 25.7 ppb in Reach 03 (backwater area at RM 307.5), upstream of the
plant, to 435 ppb in Reach 05 (Mouth of Bakers Creek). Concentrations as high as 103 ppb were
found in bass below the Joe Wheeler Dam, nearly 40 miles downstream of the plant at Shoal
Creek. Median catfish filet tissue PFOS concentrations ranged from 1.50 ppb in Reach 01 (RM
320) to 283 ppb in Reach 05 (Mouth of Bakers Creek). PFOA was detected at up to 6.06 ppb in
fish in Bakers Creek cove and up to 4.01 ppb down river at Mallard Creek.

At least 5 public water supplies using water from the Tennessee River downstream of the 3M
plant have shown contamination with PFOA:
    • PFOA was detected in all of the finished water samples collected from the West
        Morgan/East Lawrence Water Treatment Plant (“WTP”), about 15 miles downstream of
        the 3M plant, with concentrations ranging from 0.0442 to 0.155 ppb. In 2013, the Agency
        for Toxic Substances and Disease Registry (“ATSDR”) found an association between

7
    ADEM. 2014 Alabama §303(d) List.
8
    Alabama Dept. Public Health. Fish Consumption Advisories 2015.

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       elevated levels of PFOA in the blood serum of tested local residents and the use of
       drinking water from the West Morgan/East Lawrence Water Authority.
   •   PFOA was detected in all three of the finished water samples collected over 6 months
       from the Muscle Shoals WTP, about 45 miles downstream, with concentrations ranging
       from 0.0272 to 0.0426 ppb.
   •   PFOA was detected in all three of the finished water samples collected from the Florence
       Municipal Water Supply, approximately 45 miles downstream of the 3M facility, with
       concentrations ranging from 0.0254 to 0.0433 ppb.
   •   PFOA was detected in all three finished water samples collected over 6 months from the
       Tennessee Valley Authority research station WTP, approximately 45 miles downstream,
       with concentrations ranging from 0.0302 to 0.0394 ppb.
   •   PFOA was detected in two of the three finished water samples collected over 6 months
       from the Sheffield WTP (approximately 45 miles downstream) with concentrations of
       0.0293 to 0.0419 ppb.

The Decatur Utilities Dry Creek WWTP is also an ongoing significant source of PFOA, PFOS,
and related chemicals as a result of their disposal. It discharges to the Tennessee River
approximately 2 miles upstream of the 3M facility. Sampling in 2005-06 found that the effluent
from the WWTP contained as much as 17.4 ppb PFOA and 2.85 ppb PFOS, and the sludge
contained as much as 1,875 ppb PFOA and 2,110 ppb PFOS. Recent quarterly sampling shows
lower levels in the effluent, however the discharge of harmful levels of these chemicals is still
ongoing.

In addition, the biosolids that Decatur Utilities spread on agricultural fields in Lawrence,
Morgan, and Limestone counties is causing ongoing contamination of soil and groundwater with
PFOA, PFOS, and related chemicals. Sampling conducted by EPA in 2007 and 2009 of soils at
agricultural sites that received biosolids found PFOS levels as high as 1,409 ppb and PFOA
levels as high as 2,531 ppb. In February 2009 EPA sampled a number of private water wells
(potable and non-potable) near the fields that received biosolids from Decatur Utilities. Sampling
results from twelve non-potable private water wells associated with these fields showed PFOA
concentrations up to 6.41 ppb and PFOS up to 0.15 ppb. Water from drinking water wells at two
residences had PFOA levels of 0.6 ppb and 2.2 ppb, and another private drinking water well had
a PFOS level of 0.365 ppb. Others showed levels of PFOA and PFOS, but those levels were
below EPA’s Provisional Health Advisory values.

Groundwater and Surface Water Contamination and Contaminated Leachate at Landfills

The Decatur-Morgan County Sanitary Landfill has contaminated groundwater with PFOS and
related chemicals. Downgradient monitoring wells have shown PFOS concentrations as high as
14.8 ppb. Morgan County Landfill leachate is trucked to the Decatur Utilities Dry Creek WWTP.
Recent leachate samples showed 148 ppb PFOA and 175 ppb PFOS. As the result of inadequate
treatment, the contaminated leachate contributes to the ongoing discharges of PFOA, PFOS and
related chemicals from the Dry Creek WWTP to the Tennessee River.

The BFI Morris Farm Landfill has contaminated groundwater and surface water with PFOS and
related chemicals. Downgradient monitoring wells have shown PFOS concentrations as high as

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22.5 ppb. Contaminated groundwater discharges into Dry Creek which flows into the Tennessee
River at the Mallard Creek embayment. BFI Morris Farms Landfill leachate is also trucked to the
Decatur Utilities Dry Creek WWTP. Recent leachate samples showed 137 ppb PFOA and 93.9
ppb PFOS. As a result of inadequate treatment, the contaminated leachate contributes to the
ongoing discharges of PFOA, PFOS and related chemicals from the Dry Creek WWTP to the
Tennessee River.

The Bert Jeffries Landfill (also known as the Browns Ferry Road Site) has contaminated
groundwater and surface water with PFOA, PFOS, and related chemicals. PFOA concentrations
in groundwater at the landfill were as high as 19.4 ppb in 2013 testing, and PFOS was as high as
25.1 ppb. Off-site surface water contamination was as high as 0.163 ppb PFOA and 1.54 ppb
PFOS in 2012-13. The contaminated surface water flows to the Tennessee River at the Mallard
Creek embayment.

3.     INTENT TO SUE

We intend to file suit in ninety days in the U.S. District Court for the Northern District of
Alabama and will seek abatement of the imminent and substantial endangerment through a court
order. While we are aware that the 3M Company is conducting an environmental assessment
pursuant to a voluntary Memorandum of Understanding with the EPA under the Toxic
Substances Control Act, and that other Responsible Parties are subject to certain ADEM
monitoring requirements for PFOA, PFOS, and related chemicals, these activities are not
sufficient to abate the imminent and substantial endangerment.

First, the assessment and selection of long-term remedial actions must include new studies on the
health effects of exposure to PFOA, PFOS, and related chemicals, which show serious health
effects among exposed populations at levels similar to those found in the Decatur area. Second,
the primary Responsible Party, 3M, is not doing enough to prevent these chemicals from
migrating into the Tennessee River at its plant site, including the former sludge incorporation
area. More also needs to be done to deal with groundwater and surface water contamination at
the off-site landfills and biosolids disposal sites. The contaminated leachate from the two
landfills with leachate collection systems needs to be treated to remove PFOA, PFOS, and
related chemicals, before being discharged to the Decatur Utilities WWTP, and the Decatur
Utilities WWTP needs to effectively treat its wastewater in order to remove PFOA, PFOS, and
related chemicals before discharge to the Tennessee River. Furthermore, 3M should be held
responsible for the remedial actions necessary at these off-site facilities. In addition, an
assessment should be performed for removal of contaminated sediments from the Tennessee
River, which will be an ongoing source of contamination of surface water and fish.

If you would like to discuss this matter, please contact us as soon as possible, as we intend to file
suit as soon as the statutory notice period expires. My contact information is in the letterhead.
Co-counsel Gary Davis of Davis & Whitlock, PC, may be contacted at 828-622-0044.




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                                                 Sincerely,

                                                 /S/

                                                 Mark Martin


cc:   Gina McCarthy, Administrator
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